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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------X
YEHUDA SIGALIT,
        Plaintiff,
                                                                        Case No. 21-cv-08921 (MMG) (JC)
against-

JOSSEF KAHLON,                                                          DECLARATION OF JOSSEF
                                                                        KAHLON REGARDING
                                                                        ABSENCEFROM FEBRUARY 25,
                                                                        2025 CONFERENCE


        Defendant.
------------------------------------------------------------------x

JOSSEF KAHLON,
        Counterclaim-Plaintiff,

- against –


YEHUDA SIGALIT and AVRAHAM YEHUDA,
        Counterclaim-Defendants.

------------------------------------------------------------------x
        I, JOSSEF KAHLON, hereby declare, pursuant to 28 U.S.C. § 1746 that:

        1.           I am the Defendant and Counterclaim-Plaintiff in the above-entitled action and

over the age of 18.

        2.        I submit this declaration to comply with this Court’s Order entered on February 25,

2025 [DE 121] and to explain the reasons for my absence at the February 25, 2025 conference held

in this matter.

        3.           Approximately one (1) week prior to the newly scheduled February 25, 2025

conference, I began to experience some type of illness that closely resembled the flu, and suffering

from symptoms including a high fever and difficulty breathing.
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       4.        Additionally, as I also suffer from several pre-existing conditions including

diabetes and high blood pressure, when combined with my above illness, I also began to feel

continually drowsy and started to become disoriented at various times during the period.

       5.        I continuously suffered from this illness and the corresponding health related

effects described above over the next several days, including up through the date of the February

25, 2025 conference.

       6.        However, notwithstanding my continued illness, it was always and remained my

intent at all times to nevertheless appear in person with my counsel at the February 25, 2025

conference.

       7.        On the evening of February 24, 2025, my health seemed to finally start

improving, at which time I made plans with my attorney, who had already traveled up from Florida

for the conference, to meet for breakfast early on the morning of February 25, 2025 to discuss the

conference scheduled for later that same morning, before traveling with my counsel together to the

Courthouse.

       8.        Unfortunately, despite my plans to meet with my counsel and attend with him the

next day, my illness returned with increased severity later that night. More specifically, shortly

after I went to sleep on the evening of February 24th, I woke up and was burning up with a high

fever. I then proceeded to take medication throughout the night and into the next morning to reduce

the fever. However, notwithstanding my best efforts, my condition worsened. In addition to all

of my prior symptoms, I was now having a hard time breathing and experiencing nausea and

extreme dizziness, which left me bedridden and unable to operate a vehicle, or even travel in one,

from my home in Long Island into Manhattan on the morning of February 25, 2025.
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       9.          Upon recognizing the severe extent of my condition, and the adverse effect it had

on my ability to safely travel into Manhattan that morning for the scheduled conference, I contacted

my counsel sometime between 7:00 and 7:30 a.m. to apprise him of my condition and to advise

him that I would be unable to appear in person with him as previously intended at the February 25,

2025 conference.

       10.         At no time did the thought of not attending the February 25, 2025 conference

ever cross my mind. Rather, to the contrary, I was eager to attend the conference to hear what was

being discussed and contested firsthand because I was confused as to how things had turned out in

the case and wanted to be present so that I could answer any questions from the Court, if asked.

       11.         Respectfully, I deeply regret any inconvenience my absence from the conference

may have caused the Court or to the parties to this matter.

       12.         I declare under the penalty of perjury that the foregoing statements are true to the

best of my knowledge, information, and belief.

       Dated: March 5, 2025.
                                                               Yossef kahlon (Mar 5, 2025 18:38 EST)
                                                               ______________________________
                                                                       Jossef Kahlon
